            Case MDL No. 2804 Document 6428 Filed 12/11/19 Page 1 of 1



                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION
      The DCH Health Care Authority v. Purdue Pharma, L.P.,              )
            S.D. Alabama, C.A. No. 1:19-00756                            )               MDL No. 2804


                 ORDER VACATING CONDITIONAL TRANSFER ORDER


        A conditional transfer order was filed in this action (DCH) on October 22, 2019. Prior to
expiration of that order’s 7-day stay of transmittal, plaintiffs in DCH filed a notice of opposition to
the proposed transfer. Plaintiffs later filed a motion and brief to vacate the conditional transfer order.
The Panel has now been advised that DCH was remanded to the Circuit Court of Conecuh County,
Alabama, by the Honorable William H. Steele in an order filed on December 3, 2019.

     IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated as
“CTO-117” filed on October 22, 2019, is VACATED insofar as it relates to this action.


                                                         FOR THE PANEL



                                                         John W. Nichols
                                                         Clerk of the Panel
